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  October 18, 2019


  Honorable Freda L. Wolfson, U.S.D.J.
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608
            Re:       In Re: Johnson & Johnson Talcum Powder Products Marketing,
                      Sales Practices and Products Liability Litigation (MDL No. 2738)
  Dear Judge Wolfson:

          In a press release issued today, Johnson & Johnson acknowledged that
  Johnson’s Baby Powder tested positive for asbestos and a voluntary recall was
  initiated. (See Exhibit A). Other statements by Johnson & Johnson published in the
  media report that the recall involves 33,000 bottles of the product. The FDA
  commissioned independent testing of Johnson’s Baby Powder and confirmed the
  presence of chrysotile asbestos in Lot #22318RB. The source of the talc in the
  recalled lot is the same that Johnson & Johnson has used for all its talcum powder
  products since 2003.

         The PSC writes to bring this development to the Court’s attention and to
  inform the Court of its efforts to obtain additional information. The PSC has filed a
  Freedom of Information Act (FOIA) request with the U.S. Food and Drug
  Administration to obtain documents regarding the third-party lab that performed the
  testing, the test results, the testing procedures, and any communications regarding
  the lot that tested positive. The PSC has also requested that Johnson & Johnson
  Defendants, as a part of their ongoing duty to supplement pending discovery
  requests, provide within seven days documents, data and information regarding the
  same.

         The PSC is making every effort to obtain this information on an expedited
  basis. Following receipt of the requested documents and data, the PSC requests the
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  opportunity to supplement its briefing and provide the relevant evidence to the Court
  for consideration when addressing the pending Daubert motions.

         Thank you for your consideration of these matters. Should the Court have
  any questions, the PSC stands ready to respond in any way that might assist the
  Court.

                                     Very truly yours,

               /s/ P. Leigh O'Dell                        /s/ Michelle A. Parfitt
               P. Leigh O'Dell                            Michelle A. Parfitt




  cc:   Susan Sharko, Esq. (via email without enclosure)
        John Beisner, Esq. via email without enclosure)
        Tom Locke, Esq. (via email without enclosure)
        The Plaintiffs’ Steering Committee (via email without enclosure)
